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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION

ERIC OLIVER,

      Plaintiff,

v.                                            Case No.: 1:22cv100-MW/HTC

ST. FRANCIS HOUSE, INC.,

     Defendant.
__________________________/

          ORDER DENYING PLAINTIFF’S MOTION TO AMEND

      This Court has considered, without hearing, Plaintiff Eric Oliver’s motion to

amend his complaint. ECF No. 44. Defendant St. Francis House, Inc., filed a

response in opposition. ECF No. 47. The motion is under submission and ripe for

disposition.

      Plaintiff moves to amend his complaint in three ways. First, he seeks to “delete

the claim for relief under the Americans with Disabilities Act . . . .” ECF No. 44 at

1. Second, Plaintiff seeks to replace all references to his “service dog” with

“emotional support animal.” Id. Third, Plaintiff asks to add an allegation that he now

“receives Social Security Disability Benefits based upon his mental and physical

impairments.” Id. Defendant opposes these amendments, citing “undue delay, undue

prejudice, futility of amendment, and bad faith or dilatory conduct.” ECF No. 47 at

1. Specific to Plaintiff’s request to amend all references to a service animal,
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Defendant argues that Plaintiff had ample notice to remedy this mistake but failed

to do so before the discovery deadline ended—and only after Defendant noted this

issue in its motion for summary judgment. Id. at 2–3.

       When a plaintiff cannot amend as a matter of course, this Court must still grant

leave to amend “when justice so requires.” Fed. R. Civ. P. 15(a)(2).1 To determine

whether amendment furthers the interests of justice, this Court must consider several

factors. These factors include “undue delay, bad faith or dilatory motive . . . ,

repeated failure to cure deficiencies by amendments previously allowed, undue

prejudice to the opposing party by virtue of allowance of the amendment, [and]

futility of amendment.” Perez v. Wells Fargo N.A., 774 F.3d 1329, 1340 (11th Cir.

2014) (quoting Equity Lifestyle Props., Inc. v. Fla. Mowing & Landscape Serv., Inc.,

556 F.3d 1232, 1241 (11th Cir. 2009)).

       Here, this Court declines to permit Plaintiff to amend his complaint to

effectively dismiss the ADA claim without prejudice and correct all references to a

service animal because of his undue delay in seeking an amendment. As Defendant

notes, Plaintiff admitted in his September 27, 2022, deposition that his assistance



       1
          Ordinarily, at this stage of the litigation, plaintiff would also be required to show good
cause for amending his pleading after the deadline to do so under a Rule 16 scheduling order. The
operative scheduling order in this case sets the deadline to amend any pleadings based on the
agreed date in the parties Rule 26(f) Report. See ECF No. 18 at 2. The parties Rule 26(f) Report,
however, does not include any deadline for amending pleadings. See ECF No. 17. Given that
Plaintiff’s motion to amend the complaint does not run afoul of any deadline in the scheduling
order, this Court evaluates the motion under Rule 15 only.
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animal was not task trained.2 This admission occurred almost three months before

the discovery deadline. Plaintiff only sought to amend his complaint to drop the

ADA claim and correct any reference to a service animal once Defendant raised it

in its motion for summary judgment. As a result, Defendant is prejudiced because it

cannot conduct discovery on the status of Plaintiff’s assistance animal—as opposed

to an ADA service animal. On these facts, this Court declines to permit Plaintiff to

remedy his failure to timely amend his complaint at the expense of Defendant’s

ability to engage in discovery. See Campbell v. Emory Clinic, 166 F.3d 1157, 1162

(11th Cir. 1999) (finding that district court properly acted within its discretion in

denying plaintiffs’ motion to amend one year after discovery ended); cf. Collins v.

GKD Mgmt., LP, No. 3:19-CV-121-TCB, 2022 WL 17420791, at *3 (N.D. Ga. Aug.

31, 2022) (granting leave to amend where “[n]o dispositive motions have been filed,

and discovery is on-going”).

       As for Plaintiff’s request to amend his complaint to include an allegation that

he now receives Social Security Disability Benefits based upon his mental and



       2
          This Court notes that such a fact, as well as its legal consequences on Plaintiff’s ADA
claim, should have been uncovered by Plaintiff’ counsel well before his client’s deposition. The
complaint explicitly alleges that the subject dog was a “service animal” for purposes of the ADA.
See Doc. 1 at 3. However, 28 C.F.R. § 36.104—as well as the FAQ section located on the ADA
website and attached to Plaintiff’s complaint—makes clear that a service animal must be task-
trained. See https://www.ada.gov/resources/service-animals-faqs/ (last updated Fed. 28, 2020);
Doc. 1-1. Given the significance of this requirement, Plaintiff’s counsel should have verified that
Plaintiff’s assistance animal was in fact a service animal prior to making including an allegation
to that effect in the complaint.
                                                3
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physical impairments, this Court declines to permit the amendment because justice

does not require it. Plaintiff’s operative complaint alleges that he has a disability

with ample detail. Amending his complaint to include what amounts to a new

evidentiary development is unnecessary. See Jefferson v. Myles, 63 F. App’x 891,

893 (7th Cir. 2003) (affirming a district court’s denial of a motion to amend where

the new allegations “were superfluous” and “would not have cured any pleading

defect.”).3

                                        *      *       *

       Plaintiff’s request to amend his complaint to drop the ADA claim and correct

any references to a service animal comes only after undue delay which would

prejudice Defendant. As for Plaintiff’s request to add an allegation regarding his

recent disability determination, such an amendment is not required by the interests

of justice. Accordingly, Plaintiff’s motion for leave to amend his complaint, Doc.

44, is DENIED.

       SO ORDERED on May 2, 2023.

                                            s/Mark E. Walker                   ____
                                            Chief United States District Judge




       3
          This Court makes no determination on the admissibility of Plaintiff’s Social Security
disability determination at trial. Rather, this Court identifies this proposed amendment as a new
evidentiary development only to explain that a complaint need not be amended with every new
fact discovered as a case progresses.
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